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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

                       SETTLEMENT CONFERENCE MINUTES


RG Golf Warehouse, Inc.,                                  COURT MINUTES
                                                     BEFORE: David T. Schultz
      Plaintiff,                                    United States Magistrate Judge

v.                                              Case No.    19-cv-585 (WMW/DTS)
                                                Date:       May 9, 2022
The Golf Warehouse, LLC,                        Location:   Courtroom 9E
                                                Time Commenced: 10:00 a.m.
      Defendant.                                Time Concluded: 11:40 p.m.
                                                Total Time:    1 hrs. 40 min.


APPEARANCES:

      For Plaintiff:    Bryan Battina

      For Defendant: Patrick Rooney




PROCEEDINGS:

      _X_     No settlement reached.

      ___     Binding settlement reached. Terms stated on the record. Any transcript or
              copy of the audio file of the terms of settlement is CONFIDENTIAL and shall
              be SEALED, with access being allowed only to the parties and their counsel.
              (Audio: T:/zoom)


Date: May 9, 2022                               s/TJB
                                                Courtroom Deputy
